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                        Exhibit A

                         [Order]




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                        Chapter 11
In re:
                                                        Case No. 14-10979 (CSS)
ENERGY FUTURE HOLDINGS CORP., et al.,1
                                                        (Jointly Administered)
                        Debtors.
                                                        Hearing Date: January 13, 2015
                                                        Obj. Deadline: December 30, 2014


  [PROPOSED] ORDER APPROVING THE EMPLOYMENT OF CRAVATH, SWAINE &
    MOORE LLP AS COUNSEL TO ENERGY FUTURE INTERMEDIATE HOLDING
 COMPANY LLC UNDER SECTIONS 327(a) AND 1107(b) OF THE BANKRUPTCY CODE,
             EFFECTIVE NUNC PRO TUNC TO NOVEMBER 16, 2014


         Upon the application (the “Application”) of debtor and debtor in possession Energy

Future Intermediate Holding Company LLC (“EFIH”) for the entry of an order under section

327(a) of the Bankruptcy Code, Rules 2014(a) and 2016 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and Rules 2014-1 and 2016-2 of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Bankruptcy Rules”) approving the employment of Cravath, Swaine &

Moore LLP (“Cravath”) as independent counsel to EFIH, effective nunc pro tunc as of November

16, 2014, to advise and represent EFIH in accordance with the resolutions of the EFIH Board of

Managers attached to the Application as Exhibit C and Exhibit D (the “Resolutions”) in

connection with Conflict Matters and in determining whether a matter constitutes a Conflict

Matter, reporting to and at the direction of Charles H. Cremens, as the Disinterested Manager of

1 The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location

of the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of
debtors in these chapter 11 cases, for which joint administration has been granted, a complete list of the
debtors and the last four digits of their federal tax identification numbers is not provided herein. A
complete list of such information may be obtained on the website of the debtors’ claims and noticing
agent at http://www.efhcaseinfo.com.
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EFIH (the “Disinterested Manager”), the Declaration of Richard Levin, a partner in Cravath

(the “Levin Declaration”) and the Declaration of Charles H. Cremens (the “Cremens

Declaration”) filed with the Application, and the evidence and arguments adduced at the

hearing on the Application, the Court finds:

            (a) the Court has jurisdiction and authority over this matter under 28 U.S.C. §§ 157

               and 1334;

            (b) the Application is a core proceeding under 28 U.S.C. § 157(b)(2);

            (c) venue of the Application in this district is proper under 28 U.S.C. §§ 1408 and

               1409;

            (d) based on the representations made in the Application and in the Levin

               Declaration, (i) Cravath does not hold or represent an interest adverse to EFIH’s

               estate and (ii) Cravath is a “disinterested person” as defined in section 101(14) of

               the Bankruptcy Code and as required by section 327(a) of the Bankruptcy Code

               as a condition to approval of its employment;

            (e) the relief requested in the Application is in the best interests of EFIH’s estate, its

               creditors, and other parties in interest;

            (f) EFIH provided adequate and appropriate notice of the Application under the

               circumstances, and no other or further notice is required;

            (g) there is good cause for the relief granted herein; and

            (h) any objections to the relief requested by the Application have been withdrawn or

               should be overruled.

       Therefore, it is ORDERED:

       1.      The Application is granted to the extent set forth in this Order.


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       2.      EFIH’s employment of Cravath as its attorneys nunc pro tunc to November 16,

2014 on the terms and conditions set forth in the Application and the Engagement Letter

attached to the Application as Exhibit 1, including the Resolutions, is approved. To the extent, if

any, that the Engagement Letter, the Levin Declaration, the Cremens Declaration or any later

document filed with the Court in connection with the Cravath employment is inconsistent with

the Bankruptcy Code or this Order, the Bankruptcy Code and this Order shall govern, as

determined by the Court.

       3.      Cravath shall use its reasonable efforts not to duplicate any services provided by

any of EFIH’s other retained professionals in EFIH’s chapter 11 case.

       4.      Cravath shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with EFIH’s chapter 11 case in compliance

with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the Bankruptcy

Rules, Local Bankruptcy Rules, the Order Establishing Procedures for Interim Compensation

and Reimbursement of Expenses for Professionals entered on September 16, 2014 [ECF 2066]

and any other applicable procedures and orders of the Court, including the Stipulation and

Order Appointing a Fee Committee [ECF 1896], and shall cooperate with the fee committee

appointed under that Stipulation and Order in the discharge of its duties. In connection with

any employment or interim or final fee application Cravath files in this chapter 11 case, Cravath

shall make a reasonable effort to comply with the Guidelines for Reviewing Applications for

Compensation and Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in

Larger Chapter 11 Cases Effective as of November 1, 2013.

       5.      For any contract attorneys that Cravath uses in this case, Cravath shall pass

through to EFIH only the actual charge it pays for their service.

       6.      Cravath shall not seek reimbursement of expenses for office supplies.
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       7.         Cravath shall not share fees with any attorneys except to the extent permitted by

section 504.

       8.         Cravath shall provide ten business days’ notice to EFIH, the U.S. Trustee, and

each Official Committee of Unsecured Creditors before any increases in the rates set forth in the

Application or the Engagement Letter are implemented and shall file such notice with the

Court. The U.S. Trustee retains all rights to object to any rate increase on all grounds, including

the reasonableness standard set forth in section 330 of the Bankruptcy Code, and the Court

retains the right to review any rate increase under section 330 of the Bankruptcy Code.

       9.         EFIH and Cravath are authorized to take all actions necessary to effectuate the

relief granted by this Order.

       10.        Notice of the Application as described in the Application is adequate notice of

the Application, and the Application satisfies the requirements of the Local Bankruptcy Rules.

       11.        The terms and conditions of this Order are effective and enforceable immediately

upon its entry.

       12.        The Court retains jurisdiction to hear and determine all matters arising from or

related to the implementation of this Order.


Dated: ______________________
       Wilmington, Delaware                            The Honorable Christopher S. Sontchi
                                                       United States Bankruptcy Judge




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